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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   Case No. C-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER TO SHOW CAUSE RE:
                                                                         10   This Order Relates To:                  )   APPOINTMENT OF A SPECIAL
                               For the Northern District of California
United States District Court




                                                                                                                      )   MASTER PURSUANT TO MOTION
                                                                         11                                           )   OF CERTAIN PARTIES
                                                                              ALL ACTIONS                             )
                                                                         12                                           )
                                                                                                                      )
                                                                         13
                                                                         14
                                                                         15        On September 1, 2015, certain parties requested the Court
                                                                         16   appoint a Special Master to handle matters related to attorneys'
                                                                         17   fees in cases that have settled and where the Court retains
                                                                         18   oversight over distribution of such fees.        See ECF No. 4032.   The
                                                                         19   Court therefore intends to appoint Mr. Martin Quinn as Special
                                                                         20   Master and charge him to produce Reports and Recommendations
                                                                         21   ("R&Rs") on final approval of the pending settlements, the
                                                                         22   aggregate award of attorneys’ fees and expenses to all Plaintiffs’
                                                                         23   Counsel, and service awards to the named Plaintiffs, including
                                                                         24   objections to these matters, for the above captioned case.          See Fed
                                                                         25   R. Civ. P. 53(a)(1)(C).     The Court would authorize Mr. Quinn to
                                                                         26   hold hearings at his discretion should he believe doing so would be
                                                                         27   helpful in resolving a matter pending before him.          The substance of
                                                                         28   an appointment order would be similar to the proposed order
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                                                                          1   attached to the motion to appoint Mr. Quinn, but will also include
                                                                          2   authority for Mr. Quinn to consider attorneys' fees in future
                                                                          3   settlements where appropriate.      See ECF No. 4032-2.
                                                                          4        This appointment will allow the parties to complete important
                                                                          5   pending issues within approved settlements while allowing the Court
                                                                          6   to continue its own preparations to quickly proceed to trial once
                                                                          7   trial dates are announced during an upcoming trial setting
                                                                          8   conference.   Any order appointing Mr. Quinn will be understood not
                                                                          9   to alter the appointment of Judge (Ret.) Vaughn R. Walker as
                                                                         10   Special Master or Magistrate Judge (Ret.) James Larson (subject to
                               For the Northern District of California
United States District Court




                                                                         11   pending objections) over different subsets of motions in this case.
                                                                         12        Parties have not yet been given opportunity to be heard
                                                                         13   pursuant to Fed. R. Civ. P. 53(b)(1), and therefore are hereby
                                                                         14   ORDERED to SHOW CAUSE, in writing, within 7 days of the date of
                                                                         15   this order should any have objections to the Court's appointment.
                                                                         16   No action is required should a party have no objection.            Should the
                                                                         17   Court receive no objections, it will proceed with the appointment.
                                                                         18   Should the Court receive any objections, to ensure a full
                                                                         19   opportunity to be heard, the Court will consider permitting parties
                                                                         20   to appear at the hearing already scheduled for September 11, 2015.
                                                                         21   See ECF No. 4029.    The Court does not set any hearing at this time,
                                                                         22   but rather shares this information for planning purposes only, as
                                                                         23   notice for said hearing would otherwise be short by the time
                                                                         24   objections are due.
                                                                         25        IT IS SO ORDERED.
                                                                         26
                                                                         27        Dated: September 2, 2015
                                                                         28                                       UNITED STATES DISTRICT JUDGE



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